         Case 1:13-cv-02311-JSR Document 57 Filed 11/01/13 Page 1 of 31



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


JOSEPH EBIN and YERUCHUM JENKINS,
individually and on behalf of all others similarly
situated,
                                                        Civil Action No. 13-CV-2311
                              Plaintiffs,               (JSR)

       v.

KANGADIS FOOD INC., d/b/a THE GOURMET
FACTORY

                              Defendant.



  MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS
    CERTIFICATION, APPOINTMENT OF CLASS REPRESENTATIVES, AND
                 APPOINTMENT OF CLASS COUNSEL


Dated: November 1, 2013

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             Case 1:13-cv-02311-JSR Document 57 Filed 11/01/13 Page 2 of 31



                                                  TABLE OF CONTENTS

                                                                                                                                       Page

I.        INTRODUCTION .............................................................................................................. 1 

II.       SUMMARY OF COMMON FACTS ................................................................................. 2 

III.      THE LEGAL STANDARD FOR CLASS CERTIFICATION ........................................ 11 

IV.       THE REQUIREMENTS OF RULE 23(a) ARE READILY MET ................................... 11 

          A.         The Class Satisfies The Numerosity Requirement ............................................... 12 

          B.         Commonality Is Satisfied ...................................................................................... 12 

          C.         Plaintiffs’ Claims Are Typical .............................................................................. 13 

          D.         Plaintiffs Will Adequately Represent The Class And Subclasses ........................ 14 

                     1.         Plaintiffs’ Interests Do Not Conflict With The Class Or
                                Subclasses ..................................................................................................14 

                     2.         Plaintiffs’ Counsel Are Qualified ..............................................................15 

V.        THE PROPOSED CLASS SATISFIES RULE 23(b)(3) .................................................. 16 

          A.         Common Questions Of Law Or Fact Predominate ............................................... 16 

                     1.         The Elements Of The New York And New Jersey
                                Consumer Protection Claims Can Be Established Through
                                Common Proofs .........................................................................................16 

                     2.         The Elements Of The Warranty Claims Can Be Established
                                Through Common Proofs ..........................................................................19 

                     3.         The Elements Of Fraud And Negligent Misrepresentation
                                Can Be Established Through Common Proofs ..........................................20 

          B.         Class Litigation Is Superior To Other Methods Of Adjudication ......................... 21 

CONCLUSION ............................................................................................................................. 25 




                                                                      i
            Case 1:13-cv-02311-JSR Document 57 Filed 11/01/13 Page 3 of 31



                                               TABLE OF AUTHORITIES
                                                                                                                               Page(s)
Cases

Amchem Prods., Inc. v. Windsor,
  521 U.S. 591 (1997) ................................................................................................................ 11

Amgen Inc. v. Conn. Ret. Plans & Trust Funds,
  133 S. Ct. 1184 (2013) ............................................................................................................ 16

Baffa v. Donaldson, Lufkin & Jenrette Sec. Corp.,
   222 F.3d 52 (2d Cir. 2000)...................................................................................................... 14

Blessing v. Sirius XM Radio Inc.,
   2011 WL 1194707 (S.D.N.Y. Mar. 29, 2011) ........................................................................ 23

Bosland v. Warnock Dodge, Inc.,
   197 N.J. 543 (2009) ................................................................................................................ 17

Bregman Screen & Lumbar Co. v. Bechefsky,
   16 N.J. Super. 35 (App. Div. 1951) ........................................................................................ 19

Carnegie v. Household Intern., Inc.,
   376 F.3d 656 (7th Cir. 2004) .................................................................................................. 25

Civic Ass’n of the Deaf v. Giuliani,
   915 F. Supp. 622 (S.D.N.Y. 1996).......................................................................................... 12

Consol. Rail Corp. v. Hyde Park,
   47 F.3d 473 (2d Cir. 1995)...................................................................................................... 12

Cortigiano v. Oceanview Manor Home for Adults,
   227 F.R.D. 194 (E.D.N.Y. 2005) ............................................................................................ 11

Elias v. Unger Food Products, Inc.,
    252 F.R.D. 233 (D.N.J. 2008) ........................................................................................... 17, 19

Fogarazzao v. Lehman Bros., Inc.,
   232 F.R.D. 176 (S.D.N.Y. 2005) ............................................................................................ 13

Gennari v. Weichert Cop. Realtors,
   148 N.J. 582 (1997) ................................................................................................................ 17

Gortat v. Capala Bros., Inc.,
   257 F.R.D. 353 (E.D.N.Y. 2009) ...................................................................................... 11, 23



                                                                    ii
            Case 1:13-cv-02311-JSR Document 57 Filed 11/01/13 Page 4 of 31



Grainger v. State Sec. Life Ins. Co.,
   547 F.2d 303 (5th Cir. 1977) .................................................................................................. 21

Green v. Wolf Corp.,
   406 F.2d 291 (2d Cir. 1968).................................................................................................... 13

Guido v. L’Oreal, USA, Inc.,
   284 F.R.D. 468 (C.D. Cal. 2012) ............................................................................................ 18

In re Initial Pub. Offering Sec. Litig.,
    471 F.3d 24 (2d Cir. 2006)...................................................................................................... 23

In re Methyl Tertiary Buyl Ether (“MTBE”) Prods. Liab. Litig.,
    209 F.R.D. 323 (S.D.N.Y. 2002) ............................................................................................ 23

In re Visa Check / MasterMoney Antitrust Litig.,
    280 F.3d 124 (2d Cir. 2001).............................................................................................. 11, 24

Jermyn v. Best Buy Stores, L.P.,
   256 F.R.D. 418 (S.D.N.Y. 2009) ............................................................................................ 23

Lee v. Carter-Reed Co., L.L.C.,
   203 N.J. 496 (2010) ................................................................................................................ 17

Leider v. Ralfe,
   387 F. Supp. 2d 283 (S.D.N.Y. 2005)..................................................................................... 17

Mariso A. v. Giuliani,
  126 F.3d 372 (2d Cir. 1997).................................................................................................... 11

Montich v. Miele USA, Inc.,
  849 F. Supp. 2d 439 (D.N.J. 2012) ......................................................................................... 20

Moore v. PaineWebber, Inc.,
  306 F.3d 1247 (2d Cir. 2002)............................................................................................ 16, 21

Morrissey v. Nextel Partners, Inc.
  72 A.D.3d 209 N.Y.S.2d 580 (2010) ...................................................................................... 18

Noble v. 93 Univ. Place Corp.,
   224 F.R.D. 330 (S.D.N.Y. 2004) ............................................................................................ 23

Phillips Petroleum Co. v. Shutts,
   472 U.S. 797 (1985) ................................................................................................................ 11




                                                                   iii
             Case 1:13-cv-02311-JSR Document 57 Filed 11/01/13 Page 5 of 31



Ries v. Arizona Beverages USA LLC,
   287 F.R.D. 523 (N.D.Cal. 2012) ............................................................................................. 24

Seijas v. Republic of Argentina,
    606 F.3d 53 (2d Cir. 2010)...................................................................................................... 22

Stutman v. Chem. Bank,
    95 N.Y.2d 24 (2000) ............................................................................................................... 17

Super Glue Corp. v. Avis Rent A Car Sys.,
   132 A.D.2d 604 (1987) ........................................................................................................... 17

Taylor v. American Bankers Ins. Group.,
   267 A.D.2d 178 (1999) ........................................................................................................... 18

Wal-Mart Stores, Inc. v. Dukes,
   131 S. Ct. 2541 (2011) ............................................................................................................ 11

Statutes

N.J. Stat. Ann. § 12A:2-314.......................................................................................................... 20

N.J.S.A. §§ 56:8-1......................................................................................................... 2, 13, 16, 17

New York’s General Business Law § 349 ............................................................................. passim

Rules

Fed. R. Civ. P. 23(a) ..................................................................................................................... 11

Fed. R. Civ. P. 23(a)(2) ................................................................................................................. 12

Fed. R. Civ. P. 23(a)(3) ................................................................................................................. 13

Fed. R. Civ. P. 23(a)(4) ................................................................................................................. 14

Fed. R. Civ. P. 23(b)(3)....................................................................................................... 2, 16, 22

Regulations

N.Y. Comp. Codes R. & Regs. tit. 1, § 269(a)(5) ........................................................................... 5




                                                                     iv
         Case 1:13-cv-02311-JSR Document 57 Filed 11/01/13 Page 6 of 31



I.     INTRODUCTION

       From 2006 through March 1, 2013, defendant Kangadis Food Inc. d/b/a Gourmet Factory

imported refined olive pomace oil from overseas refineries including ACOLSA, a Spanish oil

refinery with the largest production volume of refined olive pomace oil in the world. The oil

arrived in 20-foot long 6,000-gallon flexitanks which were trucked to the Gourmet Factory’s

facility in Hauppauge, New York, where the contents were pumped into holding tanks. From

there the refined pomace oil was packed into tins labeled “Capatriti 100% Pure Olive Oil.”

Gourmet Factory sold those tins to distributors and retailers in New York, New Jersey,

Connecticut, Massachusetts, and Pennsylvania, and it was stocked on supermarket shelves

throughout the Northeast. Retail sales through March 1, 2013 were roughly $81.24 million.

Declaration of Colin B. Weir ¶ 16.

       Plaintiffs Yeruchum Jenkins and Joseph Ebin both purchased Capatriti believing the tin

contained only olive oil. Instead they got something different. Pomace oil.

               Q:     Now, can you explain to me in your own words what this
                      lawsuit’s about?

               A:     I purchased a tin of olive oil expecting what the label said,
                      that it was a hundred percent olive oil, when it fact it turned
                      out to not be 100 percent olive oil.

Jenkins Dep. at 41:17-22 (underlining added), Marchese Decl. Ex. A.1

               Q:     Can you tell me in your own words what this case is about?

               A:     Sure. This case is about a breach of warranty and false
                      advertising. The olive oil that I purchased said all over it
                      that it’s a hundred percent pure olive oil. And that was the
                      primary reason I bought it, was because I wanted a hundred
                      percent pure olive oil. I was dissatisfied with the product
                      and later learned unsurprisingly that it was not in fact a

1
 For sake of brevity, all objections have been omitted from the deposition excerpts quoted in this
brief and in the accompanying declarations. However, the full excerpted transcript pages with
objections intact are submitted herewith as exhibits to the Declaration of Joseph I. Marchese.
                                                1
           Case 1:13-cv-02311-JSR Document 57 Filed 11/01/13 Page 7 of 31



                         hundred percent pure olive oil, but rather olive pomace oil.
                         I’m here representing a class of people that also bought this
                         product that were wronged because of false advertising and
                         breach of warranty.

Ebin Dep. at 47:25-48:10, Marchese Decl. Ex. B. Plaintiffs assert claims for breach of express

warranty, breach of the implied warranty of merchantability, negligent misrepresentation, fraud,

and violation of New York’s General Business Law § 349 and New Jersey’s Consumer Fraud

Act, N.J.S.A. §§ 56:8-1, et seq.

          This case is ideally suited for class treatment. Since every tin was labeled “100% Pure

Olive Oil,” and every tin in fact contained pomace oil, the essential elements of every claim can

be proven with common classwide evidence. Plaintiffs therefore move pursuant to Fed. R. Civ.

P. 23(b)(3) for certification of a class defined as “all persons in the United States who purchased

Capatriti 100% Pure Olive Oil packed before March 1, 2013” (the “Class”). Ebin, who

purchased Capatriti 100% Pure Olive Oil at a Key Food store in the Bronx, New York in August

2012, also moves to certify a subclass of Class members who purchased in New York (the “New

York Subclass”). Ebin Dep. at 34:11-19, 36:6-7, Marchese Decl. Ex. B. Jenkins, who purchased

Capatriti 100% Pure Olive Oil in January 2013 at a Shop Rite in Nutley, New Jersey, seeks to

represent a subclass of Class members who purchased in New Jersey (the “New Jersey

Subclass”). Jenkins Dep. at 41:17-42:11, 83:11-12, Marchese Decl. Ex. A.

II.       SUMMARY OF COMMON FACTS

          The product that was packed into Capatriti 100% Pure Olive Oil tins from 2006 through

March 1, 2013 was refined olive pomace oil. See, e.g., Dennis Kangadis Dep. at 117:23-25,

Marchese Decl. Ex. C (“The Capatriti one hundred percent pure olive oil was olive pomace

oil.”).




                                                   2
         Case 1:13-cv-02311-JSR Document 57 Filed 11/01/13 Page 8 of 31



               Q:     Between 2006 and 2013, did Kangadis use ACOLSA as a
                      supplier to supply olive pomace oil for its Capatriti one
                      hundred percent pure olive oil product?

               A:     We purchased the product from them.

Id. at 112:7-18.

               Q:     But prior to March 1, 2013, Capatriti one hundred percent
                      pure olive oil contained only olive pomace oil; right?

               A:     Correct.

Id. at 60:15-19. This is consistent with the company’s admission in North American Olive Oil

Association (NAOOA) v. Kangadis Food Inc. that “‘at all relevant times prior to this action,’ its

‘100% Pure Olive Oil’ product ‘contained only Olive-Pomace Oil.’” NAOOA v. Kangadis Food

Inc., 13 Civ. 868 (JSR), 4/25/13 Opinion And Order at 3 (hereafter, “4/25/13 Opinion”),

Marchese Decl. Ex. D; see also 3/20/13 Themis Kangadis Aff. ¶ 31, Marchese Decl. Ex. E

(“Capatriti … contains only Olive-Pomace Oil.”). That admission was repeated again in briefing

in this case, where Defendant stated: “Capatriti was never an ‘olive oil mixture,’ … as at all

relevant times prior to this action, it contained only Olive-Pomace Oil.” 5/3/13 Def.’s Mem. Of

Law In Supp. Of Mot. To Dismiss at 8 [Dkt. No. 11].2

       This court already described the significant differences between pomace oil and olive oil

in the NAOOA case:

               “[T]he substance commonly known as ‘olive oil’ comes from
               olives that are harvested, quickly carried to a mill, washed,
               crushed, and spun to separate out extraneous solids and excess
               water. This process is entirely mechanical and involves no heat or
               chemicals. The product directly resulting from this process is
               generally known as ‘virgin olive oil.’ If virgin olive oil undergoes
2
 After March 1, 2013, the company changed the formulation and began filling the tins with real
olive oil. See 3/20/13 Themis Kangadis Aff. ¶ 51, Marchese Decl. Ex. E. (“Kangadis no longer
uses any Olive-Pomace Oil in Capatriti and, instead, is now filling its Capatriti tins with only
‘Olive Oil’ …. In fact, as of March 1, 2013, all of the Capatriti tins filled by Kangadis and
distributed in the United States contain only ‘Olive Oil.’”).
                                                 3
         Case 1:13-cv-02311-JSR Document 57 Filed 11/01/13 Page 9 of 31



               refining to remove impurities, then it is no longer called ‘virgin,’
               but remains ‘olive oil.’ By contrast, Pomace, also known as olive-
               Pomace oil, is made from the residue materials left over after olive
               oil has been mechanically extracted from the flesh of the olives.
               The residual skins, pits, and pulp are sent to specialized facilities,
               where they are dried, heated, and treated with industrial solvents to
               produce Pomace.

               Kangadis does not dispute these significant differences in the
               production of olive oil and Pomace.”

4/25/13 Opinion at 3 (citations omitted), Marchese Decl. Ex. D. These differences led the court

to conclude that Capatriti’s label was “literally false”:

               “NAOOA has adequately shown that it is literally false, and not
               simply potentially misleading, to advertise Pomace as ‘100% Pure
               Olive Oil.’ While Pomace may in some sense be ‘olive oil’ in that
               it is an oil derived from olives, it is not remotely what the ordinary
               consumer understands ‘olive oil’ to be.”

Id. at 17. Defendant contends that finding has no preclusive effect in this action. Nevertheless,

the evidence of the literal falsity of the Capatriti label is even more overwhelming here than it

was in the NAOOA case.

       Seven categories of evidence confirm that pomace oil is not remotely what the ordinary

consumer understands olive oil to be.

       First, olive oil has olive flavor. See, e.g., Gourmet Factory Olive Oil Specifications at

Kangadis 007045, Marchese Decl. Ex. F (“Olive oil should have a fruity olive flavor.”). But

pomace oil is tasteless and odorless:

               Q:      What is the flavor profile of Capatriti 100 percent pure
                       olive oil?

               A:      Pretty bland.

               Q:      Tasteless and odorless?

               A:      For the most part.



                                                  4
        Case 1:13-cv-02311-JSR Document 57 Filed 11/01/13 Page 10 of 31



Themis Kangadis Dep. at 78:22-79:1, Marchese Decl. Ex. G. In fact, Gourmet Factory’s

supplier, ACOLSA, represents that its refining process renders its pomace oil “completely free of

odor and taste.” ACOLSA Website at 000429, Marchese Decl. Ex. H (describing ACOLSA’s

“process of refining olive pomace oil,” including “deodorization,” which “makes the oil

completely free of odor and taste”); see also N.Y. Comp. Codes R. & Regs. tit. 1, § 269(a)(5)

(“Refined olive-pomace oil … is odorless and flavorless”).

       Second, flavor is by far the most important attribute affecting consumers’ decisions to

purchase olive oil. Defendant’s expert, Dr. John L. Stanton, cites the University of California,

Davis Olive Center survey (May 2013) showing that perceived flavor was the most important

factor influencing decisions to purchase olive oil, with 80% of respondents rating flavor as

“extremely important” or “very important”:

               Q:     The question is, do you expect a product that’s labeled 100
                      percent pure olive oil to have flavor?

               A:     … Yes. Yes. …

               Q:     Yeah. So I mean, you would expect a product labeled 100
                      percent pure olive oil to have some flavor?

               A:     I would personally say yes.

               Q:     All right. And would you expect it to have an odor.

               A:     Of course, I would expect it to have an odor.

               …

               Q:     And the UC Davis survey shows that 80 percent of
                      consumers share your expectations; isn’t that correct?

               A:     They said they did, yes.

               Q:     In fact, they said 80 percent regarded flavor as being either
                      extremely important or very important, right?

               A:     I believe that’s what they said, yeah.

                                                 5
        Case 1:13-cv-02311-JSR Document 57 Filed 11/01/13 Page 11 of 31



Stanton Dep. at 56:2-58:5, Marchese Decl. Ex. I. Gourmet Factory’s former Director of Quality

Assurance and Food Safety, Maria Inetti, also agrees:

               Q:     So it should taste and smell like olives, right?

               A:     Yes.

               Q:     That’s your understanding of olive oil?

               A:     Yes.

               …

               Q:     Is that what you expect when you buy olive oil?

               A:     Yes.

Inetti Dep. at 170:13-171:18, Marchese Decl. Ex. J. This testimony strongly supports the court’s

conclusion from the NAOOA case that pomace oil is not remotely what the ordinary consumer

understands olive oil to be. Simply put, the ordinary consumer expects olive oil to have olive

flavor. Pomace oil has no flavor.

       Third, as a matter of economics, pomace oil is a different and inferior product from olive

oil. An expert economist retained by Plaintiffs, Colin Weir, explains:

               “[E]very single data set that I get confirms and repeats the analysis
               that I’ve done, that pomace is a totally inferior product. That it’s
               outsold 50 to one by 100 percent pure oil, and that 100 percent
               pure olive oil sells at a price premium of at least 50 to a hundred
               percent over comparable brands and sizes of pomace.”

Weir Dep. at 255:20-256:1, Marchese Decl. Ex. K.

       Fourth, as a matter of chemistry, pomace oil is significantly different from olive oil.

According to Professor Rodney J. Mailer, Ph.D., an expert in oil chemistry, pomace oil contains

“high levels of wax, erythrodiol, and uvaol.” Mailer Decl. ¶ 53. “Pomace oil is also higher in

undesirable chemicals such as trans fats.” Id. ¶ 55. “Under any standard, pomace oil is not olive



                                                 6
         Case 1:13-cv-02311-JSR Document 57 Filed 11/01/13 Page 12 of 31



oil, and in no case could it be called or understood to be olive oil. The extraction process results

in a product which is significantly inferior due to the lack of antioxidants and flavor, and may

contain traces of PAHs [polycyclic aromatic hydrocarbons] or solvents such as hexane used to

extract the oil.” Id. ¶ 54.

        Fifth, every state, federal and industry labeling standard distinguishes between olive oil

and pomace, and requires the latter to be labeled as such.3 But throughout the class period the

Capatriti label always said “100% Pure Olive Oil” and it never said pomace oil:

                Q:      So, do you have any reason to believe that from 2006 to
                        March, 2013 that this product packaging changed, sitting
                        here today?

                A:      I believe it’s pretty much the same.

                …

                Q:      That always stated that it was one hundred percent pure
                        olive oil, right?

                A:      I believe so.

                Q:      And so far as you know, prior to March 1, 2013, that
                        representation never changed; right?

                A:      It’s the same.

3
  See 7 C.F.R. § 240.1535 (voluntary USDA standard providing that “[o]live-pomace oils shall
not be labeled as ‘olive oil’”); 47 Fed. Reg. at 42,123 (FDA notice explaining that, under certain
unnamed labeling standards, “oil extracted from olive pomace and pits by chemical means and
refined to make it edible must be labeled either ‘refined olive-residue oil’ or ‘refined extracted
olive-residue oil’”); N.Y. Agric. & Mkts. Law § 204-a(a), (b) (separately defining “olive oil” and
“olive pomace oil” and establishing “rules and regulations for the production and labeling of
olive oils,” the violation of which renders the product “misbranded”); N.Y. Comp. Codes R. &
Regs. tit. 1, § 269(a)(1), (c) (establishing separate “standards of identity” for “olive oil” and
“olive pomace oil” as well as separate “[n]omenclature; label statement[s]” for same);
International Olive Council, IOC Trade Standard, COI/T.15/NC No. 3/Rev.6 § 2.2 (Nov. 2011)
(trade standard of U.N.-based intergovernmental body providing that “[o]live oil is the oil
obtained solely from the fruit of the olive tree ..., to the exclusion of oils obtained using solvents
or re-esterification processes”); Conn. Gen. Stat. § 21a-100-8 (requiring olive oil sold in
Connecticut to “meet the International Olive Council standards”).
                                                  7
        Case 1:13-cv-02311-JSR Document 57 Filed 11/01/13 Page 13 of 31



Dennis Kangadis Dep. at 76:24-78:14, Marchese Decl. Ex. C.

               Q:     How come you never labeled the pomace oil as pomace
                      oil?

               A:     It’s called marketing.

               Q:     What does that mean, “It’s called marketing”?

               A:     We marketed the product as 100 percent pure olive oil,
                      ’cause it was 100 percent pure olive oil.

               Q:     ’Cause it would sell better if the label said that instead of
                      saying pomace oil?

               A:     Not necessarily. That’s what the chains wanted. The
                      chains – you know, consumers, you know, from what we
                      know being in the industry, they like to see the word
                      “Pure.” As a matter of fact, consumers think that pure is
                      better than extra virgin.

Themis Kangadis Dep. at 223:16-224:11, Marchese Decl. Ex. G.

       Sixth, the evidence also overwhelmingly demonstrates that if Capatriti had been labeled

as pomace, no one would have bought it. Indeed, in the NAOOA case Kangadis admitted that if

consumers were notified “about the presence of Olive-Pomace Oil in Capatriti, its sales of

Capatriti certainly will plummet.” 4/25/13 Opinion at 17, Marchese Decl. Ex. D, quoting

3/20/13 Kangadis Br. at 23, Marchese Decl. Ex. E. Both class representatives testified that they

would not have bought Capatriti if it had been labeled as pomace:

               Q:     Now, let me ask you this: If instead of a hundred percent
                      pure olive oil on the label, if it said a hundred percent
                      pomace oil, would you have bought the product?

               A:     No.

               Q:     Why not?

               A:     ’Cause I was looking to purchase olive oil, not something
                      close to it or similar to it. I was looking for something that
                      tasted and smelled like [olive oil].


                                                 8
        Case 1:13-cv-02311-JSR Document 57 Filed 11/01/13 Page 14 of 31



Jenkins Dep. at 210:23-211:12, Marchese Decl. Ex. A.

               Q:     Would you have purchased the tin of Capatriti 100 percent
                      pure olive oil if you knew that the tin actually contained
                      olive-pomace oil?

               A:     Definitely not.

Ebin Dep. at 229:22-230:1, Marchese Decl. Ex. B. The class representatives’ testimony on this

point is buttressed by Gourmet Factory’s expert, Dr. Stanton:

               Q:     Did you ever go to the supermarket looking for pomace oil?

               A:     No.

               Q:     Can you tell me the name of anyone on earth that has ever
                      gone to the supermarket looking to buy pomace oil?

               A:     No.

Stanton Dep. at 73:8-20; Marchese Decl. Ex. I. This testimony is also consistent with Mr.

Weir’s observation that olive oil outsells pomace oil by 50 to 1 in terms of volume, at a 50% to

100% price premium. Weir Dep. at 255:20-256:1, Marchese Decl. Ex. K.

       Seventh, Gourmet Factory’s former Director of Quality Assurance and Food Safety,

Maria Inetti, testified that she would not feed the Capatriti pomace oil to her own family because

“it’s not a good quality.” Inetti Dep. at 164:12-165:3, Marchese Decl. Ex. J. She also testified

that she would “feel cheated” if she had bought Capatriti:

               Q:     If you had bought the Capatriti 100% Pure Olive Oil in the
                      store, and took it home and fed it to your family and then
                      later found out that it was pomace oil, would you have been
                      upset?

               A:     Yes.

               Q:     Why?

               A:     Because I would feel cheated.



                                                9
        Case 1:13-cv-02311-JSR Document 57 Filed 11/01/13 Page 15 of 31



Id. at 144:23-145:7.

               Q:      You think it was not fair?

               A:      Yes.

               Q:      Not fair for who?

               A:      For the customers.

               Q:      Why?

               A:      Because it wasn’t – it wasn’t what they were paying for.

Id. at 144:13-20. Plaintiff Jenkins echoed Ms. Inetti’s statement:

               Q:      Do you – do you feel the same way Ms. Inetti does?

               A:      Yes.

               Q:      Why is that?

               A:      For reasons previously stated. That I purchased the product
                       that in fact wasn’t what it advertised. But more importantly
                       hearing that an internal employee who was the head of
                       quality assurance feels so strongly on this matter, that, it’s
                       very upsetting.

               Q:      Do you think other purchasers would feel cheated just the
                       same way that you and Ms. Inetti feel cheated?

               A:      Yes.

               Q:      Do you think every class member was cheated similarly?

               A:      Yes.

               Q:      Do you think there’s any way someone could not feel
                       cheated in these circumstances?

               A:      No.

Jenkins Dep. at 209:21-210:21, Marchese Decl. Ex. A.




                                                10
        Case 1:13-cv-02311-JSR Document 57 Filed 11/01/13 Page 16 of 31



III.   THE LEGAL STANDARD FOR CLASS CERTIFICATION

       Class actions are an essential tool for adjudicating cases involving many small claims that

are not economically feasible to prosecute individually. In crafting Rule 23, “the Advisory

Committee had dominantly in mind vindication of the rights of groups of people who

individually would be without effective strength to bring their opponents into court at all.”

Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 617 (1997). Class actions give voice to plaintiffs

who “would have no realistic day in court if a class action were not available.” Phillips

Petroleum Co. v. Shutts, 472 U.S. 797, 809 (1985).

       To qualify for certification, Plaintiffs must demonstrate by a preponderance of the

evidence that the putative class action meets each of the four requirements of Rule 23(a), and

also satisfies at least one of the categories provided in Rule 23(b). See In re Visa Check /

MasterMoney Antitrust Litig., 280 F.3d 124, 132-33 (2d Cir. 2001). The Court must conduct a

“rigorous analysis,” which may require it to “probe behind the pleadings before coming to rest

on the certification question.” Wal-Mart Stores, Inc. v. Dukes, 131 S. Ct. 2541, 2551 (2011).

However, “[t]he Second Circuit has emphasized that Rule 23 should be ‘given liberal rather than

restrictive construction.’” Gortat v. Capala Bros., Inc., 257 F.R.D. 353, 361 (E.D.N.Y. 2009)

(quoting Mariso A. v. Giuliani, 126 F.3d 372, 377 (2d Cir. 1997)). Indeed, “it seems beyond

peradventure that the Second Circuit’s general preference is for granting rather than denying

class certification.” Id. at 361-62 (quoting Cortigiano v. Oceanview Manor Home for Adults,

227 F.R.D. 194, 203 (E.D.N.Y. 2005)).

IV.    THE REQUIREMENTS OF RULE 23(a) ARE READILY MET

       Rule 23(a) sets forth four prerequisites for certification: numerosity, commonality,

typicality, and adequacy. Fed. R. Civ. P. 23(a).



                                                11
        Case 1:13-cv-02311-JSR Document 57 Filed 11/01/13 Page 17 of 31



       A.      The Class Satisfies The Numerosity Requirement

       Generally, a presumption of numerosity attaches to classes of more than 40 in the Second

Circuit. Consol. Rail Corp. v. Hyde Park, 47 F.3d 473, 483 (2d Cir. 1995). This case easily

satisfies the numerosity requirement. The Court has already found that the Class exceeds 100

members in its Memorandum Order on subject matter jurisdiction, noting that “defendant does

not contest that this consumer class action involves more than 100 members.” 5/26/13

Memorandum Order at 3 [Dkt. No. 34]. Retail sales of Capatriti during the class period were

roughly $81.24 million. Weir Decl. ¶ 16.

       B.      Commonality Is Satisfied

       Commonality is met “if there are questions of law or fact common to the class.” Fed. R.

Civ. P. 23(a)(2). “Commonality does not mandate that all class members make identical claims

and arguments.” Civic Ass’n of the Deaf v. Giuliani, 915 F. Supp. 622, 633 (S.D.N.Y. 1996).

The commonality requirement may be met where the individual circumstances of class members

differ, but “their injuries derive from a unitary course of conduct by a single system.” Marisol

A., 126 F.3d at 377. In fact, “[e]ven a single question of law or fact common to the members of

the class will satisfy the commonality requirement.” Dukes, 131 S. Ct. at 2562.

       The common central issue in this case is quite simple: whether the pomace oil packed

into Capatriti tins was or was not “100% Pure Olive Oil.” Gourmet Factory contends the

pomace oil was “olive oil” because it was, in some sense, derived from the fruit of the olive tree.

Plaintiffs contend the pomace oil was not olive oil because, unlike olive oil, pomace oil has no

flavor, and because of the significant chemical and economic differences between pomace oil

and olive oil. Each of the seven categories of evidence detailed in Part II, above, confirming that

pomace oil is not remotely what the ordinary consumer understands olive oil to be, is common to



                                                12
        Case 1:13-cv-02311-JSR Document 57 Filed 11/01/13 Page 18 of 31



all class members. In addition, other common factual and legal questions include whether

Gourmet Factory negligently misrepresented that Capatriti was “100% Pure Olive Oil,” and

whether Gourmet Factory defrauded purchasers by labeling Capatriti as “100% Pure Olive Oil.”

With respect to the New York Subclass, another common legal and factual question is whether

Gourmet Factory’s conduct violated New York’s General Business Law § 349. With respect to

the New Jersey Subclass, additional common legal and factual questions include whether

Gourmet Factory breached express warranties, breached the implied warranty of merchantability,

and violated the New Jersey Consumer Fraud Act, N.J.S.A. §§ 56:8-1, et seq.

       C.      Plaintiffs’ Claims Are Typical

       Rule 23(a)(3) requires Plaintiffs’ claims to be “typical” of the class. Fed. R. Civ. P.

23(a)(3). “The typicality requirement is not demanding.” Fogarazzao v. Lehman Bros., Inc.,

232 F.R.D. 176, 180 (S.D.N.Y. 2005) (internal quotations omitted). Typicality is satisfied “when

each class member’s claim arises from the same course of events and each class member makes

similar legal arguments to prove the defendant’s liability.” Robidoux, 987 F.2d at 936. “When it

is alleged that the same unlawful conduct was directed at or affected both the named plaintiff and

the class sought to be represented, the typicality requirement is usually met irrespective of minor

variations in the fact patterns underlying individual claims.” Id. at 936-37; see also Green v.

Wolf Corp., 406 F.2d 291, 300 (2d Cir. 1968) (stating that denial of class certification “because

all of the allegations of the class do not fit together like pieces in a jigsaw puzzle … would

destroy much of the utility of Rule 23”).

       Here, Plaintiffs’ and other Class members’ claims arise out of the same course of conduct

by Defendant and are based on the same legal theories. Every tin was labeled “100% Pure Olive

Oil” and every tin in fact contained pomace oil. See, e.g., Jenkins Dep. at 41:17-22, Marchese



                                                 13
        Case 1:13-cv-02311-JSR Document 57 Filed 11/01/13 Page 19 of 31



Decl. Ex. A (“I purchased a tin of olive oil expecting what the label said, that it was a hundred

percent olive oil, when it fact it turned out to not be 100 percent olive oil.”); id. at 209:21-210:21

(stating that Jenkins feels that he was “cheated” by the sale, and that “every class member was

cheated similarly”); Ebin Dep. at 47:25-48:10, Marchese Decl. Ex. B (“The olive oil that I

purchased said all over it that it’s a hundred percent pure olive oil. And that was the primary

reason I bought it, was because I wanted a hundred percent pure olive oil. I was dissatisfied with

the product and later learned unsurprisingly that it was not in fact a hundred percent pure olive

oil, but rather olive pomace oil. I’m here representing a class of people that also bought this

product that were wronged because of false advertising and breach of warranty.”). Plaintiffs

have been injured in the same manner as the putative class members and seek redress through

common legal claims. Plaintiffs’ claims are therefore typical of the Class and Subclasses.

       D.      Plaintiffs Will Adequately Represent The Class And Subclasses

       Adequacy requires that “the representative parties will fairly and adequately protect the

interests of the class.” Fed. R. Civ. P. 23(a)(4). “Generally, adequacy of representation entails

inquiry as to whether: (1) plaintiff’s interests are antagonistic to the interest of other members of

the class and (2) plaintiff’s attorneys are qualified, experienced, and able to conduct the

litigation.” Baffa v. Donaldson, Lufkin & Jenrette Sec. Corp., 222 F.3d 52, 60 (2d Cir. 2000).

Both of these factors are met here.

               1.      Plaintiffs’ Interests Do Not Conflict With The Class Or Subclasses

       Neither Plaintiffs nor their counsel have any interest antagonistic to absent Class

members. Plaintiffs, like each absent Class member, have a strong interest in proving

Defendant’s common course of conduct, establishing its unlawfulness, demonstrating the impact

of the unlawful conduct, and obtaining redress.



                                                  14
         Case 1:13-cv-02311-JSR Document 57 Filed 11/01/13 Page 20 of 31



       Both Jenkins and Ebin have also demonstrated their commitment to pursue these claims

on behalf of absent class members. Both have responded to extensive written discovery requests

and have sat for lengthy depositions. During his 6-hour deposition, Jenkins stated that he had

reviewed and commented on the complaint before it was filed, Jenkins Dep. at 51:9-14,

Marchese Decl. Ex. A, that he reviewed and verified detailed responses to interrogatories and

requests for admission, id. at 214:7-9, 218:22-219:1, 221:19-21, that he is willing to testify at the

trial of this action, id. at 233:4-7, and that he feels “very strongly” about the merits of his claims,

id. at 233:13-17. During his 7-hour deposition, Ebin similarly testified that he provided verified

responses to Defendant’s interrogatories and requests for admission, provided his lawyers with

guidance to prosecute the case, maintains constant contact with legal counsel, and remains aware

of the status of the case. Ebin Dep. at 66:12-21, 67:17-22, 68:1-14, 88:21-90:4, 98:21-99:15,

Marchese Decl. Ex. B. Mr. Ebin also testified that he is “committed to” the case and understands

that he is responsible to the class going forward to continue to oversee the case, to continue to

provide guidance to his lawyers, and to be available as necessary to see this action through to its

end. Id. at 70:13-24. Moreover, Mr. Ebin testified that he expects to spend “as much [time] as it

takes” on this matter as a class representative going forward. Id. at 77:10-15.

               2.      Plaintiffs’ Counsel Are Qualified

       Plaintiffs’ counsel, Bursor & Fisher, P.A., are class action lawyers who have experience

litigating consumer claims, including claims against food manufacturers. See Bursor & Fisher,

P.A. Firm Resume, Marchese Decl. Ex. M. The firm has been appointed class counsel in dozens

of cases in both federal and state courts, and has won multi-million verdicts or recoveries in 5 of

5 class action jury trials since 2008. Id. The Court has already stated that it is “self-evident” that




                                                  15
        Case 1:13-cv-02311-JSR Document 57 Filed 11/01/13 Page 21 of 31



Plaintiffs’ counsel “is more than capable of handling this case.” Transcript of Oral Argument,

August 15, 2013 at 22:9-10 [Dkt. No. 39].

V.     THE PROPOSED CLASS SATISFIES RULE 23(b)(3)

       Rule 23(b)(3) authorizes class certification where “questions of law or fact common to

class members predominate over any questions affecting only individual members,” and “a class

action is superior to other available methods for fairly and efficiently adjudicating the

controversy.” Fed. R. Civ. P. 23(b)(3). Both are met here.

       A.      Common Questions Of Law Or Fact Predominate

       “Class-wide issues predominate if resolution of some of the legal or factual questions that

qualify each class member’s case as a genuine controversy can be achieved through generalized

proof, and if these particular issues are more substantial than the issues subject only to

individualized proof.” Moore v. PaineWebber, Inc., 306 F.3d 1247, 1252 (2d Cir. 2002).

Notably, Rule 23(b)(3) calls only for “a showing that questions common to the class

predominate, not that those questions will be answered, on the merits, in favor of the class.”

Amgen Inc. v. Conn. Ret. Plans & Trust Funds, 133 S. Ct. 1184, 1191 (2013).

       In this action, the legal and factual issues do not require individualized determinations,

but can be resolved through generalized proof applicable to each of the Plaintiffs’ five claims.

               1.      The Elements Of The New York And New Jersey Consumer
                       Protection Claims Can Be Established Through Common Proofs

       Plaintiff Ebin alleges violations of New York General Business Law (“GBL”) § 349 on

behalf of a Subclass of all Class members who purchased Capatriti in New York. Compl. ¶ 54.

Plaintiff Jenkins alleges violations of New Jersey Consumer Fraud Act, N.J.S.A. §§ 56:8-1, et

seq. (the “NJCFA”) on behalf of a Subclass of all Class members who purchased Capatriti




                                                 16
        Case 1:13-cv-02311-JSR Document 57 Filed 11/01/13 Page 22 of 31



“100% Pure Olive Oil” in New Jersey. Id. ¶ 55. These claims involve common questions that

predominate over any individual issues that may arise.

       Under the New Jersey Consumer Fraud Act, N.J.S.A. §§ 56:8-1, et seq. (the “NJCFA”),

plaintiffs must establish “1) unlawful conduct by defendant[s]; 2) an ascertainable loss by

plaintiff; and 3) a causal relationship between the unlawful conduct and the ascertainable loss.”

Bosland v. Warnock Dodge, Inc., 197 N.J. 543, 557 (2009). Importantly, “causation under the

[NJ]CFA is not the equivalent of reliance.” Lee v. Carter-Reed Co., L.L.C., 203 N.J. 496, 577

(2010). The NJCFA “does not require proof of reliance.” Gennari v. Weichert Cop. Realtors,

148 N.J. 582, 590 (1997). This claim is subject to common proof. See Carter-Reed Co., 203

N.J. at 527-28 (“When all the representations about the product are baseless, a trier of fact may

infer the causal relationship …. [T]he [NJ]CFA does not require proof of reliance, but only a

causal connection between the unlawful practice and ascertainable loss.” (internal quotations

omitted)); Elias v. Unger Food Products, Inc., 252 F.R.D. 233, 249 (D.N.J. 2008) (“Where

representations are in written and uniform materials presented to each prospective plaintiff, there

is a presumption of causation in NJCFA cases.”).

       Elements of NY GBL § 349 are very similar to the NJCFA. GBL § 349 defines a

deceptive act or practice using an “objective definition,” whereby deceptive acts or practices,

including omissions are “limited to those likely to mislead a reasonable consumer acting

reasonably under the circumstances.” Leider v. Ralfe, 387 F. Supp. 2d 283, 292 (S.D.N.Y.

2005). “[R]eliance is not an element of a section 349 claim.” Stutman v. Chem. Bank, 95

N.Y.2d 24, 29 (2000). This claim is also subject to common proof. See Super Glue Corp. v.

Avis Rent A Car Sys., 132 A.D.2d 604 (1987) (reversing denial of class certification of unfair

trade practices claim where claims were based on defendant’s “standardized rental agreements”);



                                                17
        Case 1:13-cv-02311-JSR Document 57 Filed 11/01/13 Page 23 of 31



Taylor v. American Bankers Ins. Group., 267 A.D.2d 178 (1999) (affirming certification of claim

for violation of GBL § 349 based on defendants’ uniform offers of insurance coverage);

Morrissey v. Nextel Partners, Inc. 72 A.D.3d 209, 895 N.Y.S.2d 580 (2010) (certifying class

under GBL § 349 given the uniformity of a cellular telephone company’s spending limit fee

increase disclosure); Guido v. L’Oreal, USA, Inc., 284 F.R.D. 468, 480-83 (C.D. Cal. 2012)

(certifying class under GBL § 349 where all purchasers of hair product were subject “to the same

deceptive marketing and advertising”).

       Here, every class member saw the same material representation that Capatriti was “100%

Pure Olive Oil” because that statement appeared in large letters the front, back, left, right, and

top of the tin. See Marchese Decl. Ex. N (photos of these five surfaces of the Capatriti tin); see

also Ebin Dep. at 48:1-5, Marchese Decl. Ex. B (“The olive oil that I purchased said all over it

that it’s a hundred percent pure olive oil. And that was the primary reason I bought it, was

because I wanted a hundred percent pure olive oil.”). There can be no doubt that every purchaser

saw that material statement and expected there was “100% Pure Olive Oil” in the tin. See, e.g.,

id. at 179:11-15 (“I would say that I know that when people buy a product that says a hundred

percent pure olive oil, it’s almost certainly because they’re looking to buy a hundred percent pure

olive oil.”). Whether that representation was true or false turns entirely on generalized evidence

concerning whether pomace oil is in fact “100% pure olive oil,” including the seven categories of

evidence detailed in Part II, above. If, as Plaintiffs contend, pomace oil is not olive oil, then the

label was literally false. The same generalized evidence will establish that Capatriti’s false label

was likely to mislead a reasonable consumer acting reasonably under the circumstances. See,

e.g., Themis Kangadis Dep. at 223:16-224:11, Marchese Decl. Ex. G (“It’s called marketing. …

[C]onsumers, you know, from what we know being in the industry, they like to see the word



                                                  18
        Case 1:13-cv-02311-JSR Document 57 Filed 11/01/13 Page 24 of 31



‘Pure.’ As a matter of fact, consumers think that pure is better than extra virgin.”). And the

same generalized evidence will establish that all purchasers were cheated by the substitution of

an economically inferior product that did not meet their expectations. See, e.g., Inetti Dep.

at 144:13-145:7, Marchese Decl. Ex. J (admitting customers were “cheated” because the pomace

oil “wasn’t what they were paying for”); Weir Dep. at 255:20-256:1, Marchese Decl. Ex. K

(observing that olive oil outsells pomace by 50 to 1 in terms of volume, at a 50% to 100% price

premium).

               2.      The Elements Of The Warranty Claims Can Be Established Through
                       Common Proofs

       Plaintiff Jenkins alleges breach of express and implied warranties on behalf of a Subclass

of all Class members who purchased Capatriti “100% Pure Olive Oil” in New Jersey.

Compl. ¶ 55. These allegations also involve common questions that predominate over any

individual issues that may arise. “An express warranty is created when a seller makes a promise

to a buyer related to a good or promises that a good will conform to a specific description.”

Elias, 252 F.R.D. at 250 (D.N.J. 2008) (finding that predominance exists over claim for breach

of express warranty because an “expressed promise” on the packaging “had been breached” and

therefore “no individual inquiry [wa]s needed to resolve plaintiffs’ claim”). “To establish a

breach of an express warranty … the plaintiff need not prove privity or traditional reliance.” Id.;

see also Bregman Screen & Lumbar Co. v. Bechefsky, 16 N.J. Super. 35, 41 (App. Div. 1951)

(stating that “as a rule, no proof of the buyer’s reliance on the warranty is necessary other than

that the seller’s statements were of a kind which naturally would induce the purchase”). Every

tin sold to class members had a material, express promise in large letters on the front, back, left,

right, and top of the tin that the contents inside were “100% Pure Olive Oil.” Marchese Decl.

Ex. N (photographs of five surfaces of the tin). The central question, again, is whether the

                                                 19
        Case 1:13-cv-02311-JSR Document 57 Filed 11/01/13 Page 25 of 31



substance inside, pomace oil, conforms to that specific description. Again the same seven

categories of evidence detailed in Part II, above, will determine that question with respect to all

class members.

        Common issues also predominate over the claim for breach of the implied warranty of

merchantability. “New Jersey implies a warranty of merchantability in every contract for the

sale of goods.” Montich v. Miele USA, Inc., 849 F. Supp. 2d 439, 454 (D.N.J. 2012). “[F]or

goods to be merchantable they must at least:” “pass without objection in the trade under the

contract description; ... [be] fit for the ordinary purposes for which such goods are used; and ...

conform to the promises or affirmations of fact made on the container or label if any.” N.J. Stat.

Ann. § 12A:2-314. “In order for the implied warranty of merchantability to be breached, the

product at issue must have been defective or not fit for the ordinary purpose for which it was

intended.” Montich, 849 F. Supp. 2d at 454. Again, the same seven categories of evidence

detailed in Part II, above, will determine that question with respect to all class members. See

also Mailer Decl. ¶ 54 (“Under any standard, pomace oil is not olive oil, and in no case could it

be called or understood to be olive oil.”); Mailer Dep. at 329:14-20, Marchese Decl. Ex. O

(“[S]tandards being adopted by countries all over the world make quite clear that there’s a

difference between pomace oil and olive oil. So there’s nothing that would support pomace oil

being labeled as 100% olive oil.”).

               3.      The Elements Of Fraud And Negligent Misrepresentation Can Be
                       Established Through Common Proofs

       Finally, predominance is also met for the nationwide Class for Plaintiffs’ claims for fraud

and negligent misrepresentation. The Second Circuit made clear that the predominance

requirement is met for claims sounding in fraud where they are based on uniform representations

made to all members of the Class:

                                                 20
        Case 1:13-cv-02311-JSR Document 57 Filed 11/01/13 Page 26 of 31



               Fraud actions must … be separated into two categories: fraud
               claims based on uniform misrepresentations made to all members
               of the class and fraud claims based on individualized
               misrepresentations. The former are appropriate subjects for class
               certification because the standardized misrepresentations may be
               established by generalized proof.

Moore v. PaineWebber, Inc., 306 F.3d 1247, 1253 (2d Cir. 2002). See also Grainger v. State

Sec. Life Ins. Co., 547 F.2d 303, 307 (5th Cir. 1977) (“[T]he key concept in determining the

propriety of class action treatment is the existence or nonexistence of material variations in the

alleged misrepresentations.”). Here, because Defendant uniformly misrepresented its pomace oil

product to be “100% Pure Olive Oil” to all Class members on every side of every tin, see

Marchese Decl. Ex. N (pictures of tin), this action is an “appropriate subject[] for class

certification because the standardized misrepresentations may be established by generalized

proof.” Moore, 306 F.3d at 1253. Indeed, it is impossible that Class members did not rely on

Defendant’s misrepresentation as it concerned the name of, and nature of the very product which

they purchased. See, e.g., Ebin Dep. at 179:11-15, Marchese Decl. Ex. B (“I would say that I

know that when people buy a product that says a hundred percent pure olive oil, it’s almost

certainly because they’re looking to buy a hundred percent pure olive oil.”). Again with respect

to the claims for fraud and negligent misrepresentation, the same seven categories of evidence

detailed in Part II, above, will determine Defendant’s liability with respect to all class members.

       B.      Class Litigation Is Superior To Other Methods Of Adjudication

       Finally, a class action is the superior method of adjudication. Rule 23(b)(3) provides four

factors for the Court’s consideration:

               (A) the interest of members of the class in individually controlling
               the prosecution or defense of separate actions; (B) the extent and
               nature of any litigation concerning the controversy already
               commenced by or against members of the class; (C) the desirability
               or undesirability of concentrating the litigation of the claims in the

                                                 21
         Case 1:13-cv-02311-JSR Document 57 Filed 11/01/13 Page 27 of 31



                particular forum; and (D) the difficulties likely to be encountered
                in the management of the class action.

Fed. R. Civ. P. 23(b)(3). All of these factors favor class treatment here.

        First, Rule 23(b)(3)(A) weighs in favor of certifying a class because it would cost Class

members much more to litigate an individual case than they could recover in damages. Where

proceeding individually would be prohibitive due to the minimal recovery, “the class action

device is frequently superior to individual actions.” Seijas v. Republic of Argentina, 606 F.3d 53,

58 (2d Cir. 2010). Prices for a 101 fluid ounce tin of Capatriti “100% Pure Olive Oil” were

between $10 and $20. See, e.g., Jenkins Dep. at 83:12, Marchese Decl. Ex. A (“$10.88, before

tax”); Ebin Dep. at 36:6-7, Marchese Decl. Ex. B (“Q: Do you know how much you paid? A:

Yes. $16.49.”). The small amount at issue for each Class member renders individual litigation

infeasible, but a class action offers the potential for meaningful redress to the Class.

        Defendant has suggested that it will raise questions concerning the manageability of the

litigation and the potential difficulty of identifying class members. For example, Defendant’s

counsel vigorously examined both class representatives for failing to preserve their tins of

Capatriti oil for testing. But those criticisms are misplaced, since the Defendant has admitted,

repeatedly, that “Capatriti was never an ‘olive oil mixture,’ … as at all relevant times prior to

this action, it contained only Olive-Pomace Oil.” 5/3/13 Def.’s Mem. Of Law In Supp. Of Mot.

To Dismiss at 8, [Dkt. No. 11]; see also Dennis Kangadis Dep. at 117:23-25, Marchese Decl. Ex.

C (“The Capatriti one hundred percent pure olive oil was olive pomace oil.”). There is thus no

need for any testing of the Plaintiffs’, or class members’, individual tins. Defendant’s counsel

also vigorously criticized the class representatives for failing to retain receipts for their

purchases, and has suggested that the possibility that other class members have similarly failed to

retain receipts creates manageability problems. Retention of receipts, however, is not an

                                                  22
         Case 1:13-cv-02311-JSR Document 57 Filed 11/01/13 Page 28 of 31



essential element for the management of a class action, or for establishing proof of injury and

damages. In any event, the possible need for individualized damage calculations will not

automatically defeat class certification. See Blessing v. Sirius XM Radio Inc., 2011 WL

1194707, at *8 (S.D.N.Y. Mar. 29, 2011) (“[T]hat damages have to be ascertained on an

individual basis is not, standing alone, sufficient to defeat class certification.”) (internal

quotations omitted); see also Jermyn v. Best Buy Stores, L.P., 256 F.R.D. 418, 436 (S.D.N.Y.

2009) (“The fact that the mechanical calculation of each member’s damages will have

individualized aspects does not preclude class certification.”).

        Nor does the possibility that class members will have discarded the product or their

receipts render the class unascertainable. The implied requirement of ascertainability turns on

the definition of the proposed class. In re Initial Pub. Offering Sec. Litig., 471 F.3d 24, 30 (2d

Cir. 2006). The class must be “identifiable” such that “its members can be ascertained by

reference to objective criteria.” In re Methyl Tertiary Buyl Ether (“MTBE”) Prods. Liab. Litig.,

209 F.R.D. 323, 337 (S.D.N.Y. 2002). The standard for ascertainability “is not demanding.”

Gortat v. Capala Bros., Inc., 2010 WL 1423018, at *2 (E.D.N.Y. Apr. 9, 2010). “It is designed

only to prevent the certification of a class whose membership is truly indeterminable.” Id.

Moreover, although the membership of the class must be ascertainable “at some point in the

case,” it need not be determined prior to class certification. Noble v. 93 Univ. Place Corp., 224

F.R.D. 330, 341-42 (S.D.N.Y. 2004) (internal quotations and citations omitted). Here, class

members can be identified by reference to “objective criteria.” As Judge Marilyn Huff explained

in Astiana v. Kashi Co., 291 F.R.D. 493 (S.D. Cal. 2013):

                Defendant’s concern that the Court will have difficulty identifying
                members of the class is unavailing. Because Defendant does not
                have records of consumer purchases, and potential class members
                will likely lack proof of their purchases, Defendant argues that the

                                                   23
         Case 1:13-cv-02311-JSR Document 57 Filed 11/01/13 Page 29 of 31



               Court will have no feasible mechanism for identifying class
               members and will have to pursue proof individual to each class
               member. However, “[t]here is no requirement that ‘the identity of
               the class members ... be known at the time of certification.’ ” Ries
               v. Arizona Beverages USA LLC, 287 F.R.D. 523, 536 (N.D.Cal.
               2012); Wolph, 272 F.R.D. at 482. If class actions could be
               defeated because membership was difficult to ascertain at the class
               certification stage, “there would be no such thing as a consumer
               class action.” Ries, 287 F.R.D. at 536. As long as the class
               definition is sufficiently definite to identify putative class
               members, “[t]he challenges entailed in the administration of this
               class are not so burdensome as to defeat certification.” Id.
Id. at 500.

        The Class and Subclasses consist of “persons in the United States who purchased

Capatriti 100% Pure Olive Oil packed before March 1, 2013.” There is nothing subjective about

the Class definition: simply put, either individuals purchased the product, or they did not. It is

administratively feasible to identify class members by reference to these criteria. Indeed, class

certification is routinely granted in consumer cases even where class members are unlikely to

have receipts. See Marchese Decl. Ex. P (listing 34 cases in which classes were certified on

consumer claims where purchasers were unlikely to have retained receipts). Class action

administrators have developed many reliable techniques for providing notice and distributing

class recoveries without the need for receipts. See Declaration Of Steven Weisbrot ¶¶ 10-17

(describing a variety of administratively feasible methods for identifying class members).

        With respect to the manageability prong of Rule 23(b)(3), the Second Circuit has noted

that “failure to certify an action under Rule 23(b)(3) on the sole ground that it would be

unmanageable is disfavored and should be the exception rather than the rule.” In re Visa

Check/Mastermoney Antitrust Litig., 208 F.3d 124, 140 (2d Cir. 2001) (citations and internal

quotations omitted). Instead, the Second Circuit recommended that district courts make use of a

variety of management tools to temper potential problems caused by potential manageability



                                                 24
           Case 1:13-cv-02311-JSR Document 57 Filed 11/01/13 Page 30 of 31



issues. See id. at 141.

          It would be particularly unjust for theoretical manageability concerns to pose an obstacle

to class certification here. The evidence in this case leaves little doubt that Gourmet Factory, as

well as several members of the Kangadis family, committed a massive fraud on millions of

purchasers of Capatriti “100% Pure Olive Oil.” Without class certification, they will retain the

profits of that fraud and be incentivized to repeat their illegal conduct. This is precisely the type

of case that requires class treatment if there is to be any possibility of redress. As Judge Posner

put it:

                 “The realistic alternative to a class action is not 17 million
                 individual suits, but zero individual suits, as only a lunatic or a
                 fanatic sues for $30. But a class action has to be unwieldy indeed
                 before it can be pronounced an inferior alternative – no matter how
                 massive the fraud or other wrongdoing that will go unpunished if
                 class treatment is denied – to no litigation at all.”

Carnegie v. Household Intern., Inc., 376 F.3d 656, 661 (7th Cir. 2004). Concerns over the

potential for fraudulent claims in the postjudgment distribution process pale by comparison to

concerns about the actual fraud that has already been committed, on a massive scale, by Gourmet

Factory and the Kangadis family.

                                            CONCLUSION

          For the reasons set forth above, Plaintiffs respectfully request that the Court grant their

motion to certify the Class and the New York and New Jersey Subclasses.




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       Case 1:13-cv-02311-JSR Document 57 Filed 11/01/13 Page 31 of 31




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                                          Respectfully submitted,


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                                     26
